        Case 1:15-mc-01404-CKK Document 295 Filed 11/05/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



IN RE DOMESTIC AIRLINE TRAVEL                            MDL Docket No. 2656
ANTITRUST LITIGATION                                     Misc. No. 15-1404 (CKK)

                                                         Submitted to the Special Master
                                                         The Hon. Richard A. Levie (Ret.)


This Document Relates To:

ALL CASES.




           NOTICE OF SUBMISSION TO SPECIAL MASTER OF
DEFENDANT UNITED AIRLINES, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION
    TO COMPEL DEFENDANT UNITED AIRLINES, INC. TO COMPLY WITH
DISCOVERY REQUESTS AND THE STIPULATION AND ORDER REGARDING THE
     SEARCH FOR AND PRODUCTION OF ELECTRONICALLY STORED
               INFORMATION AND FOR OTHER RELIEF

       Pursuant to the Order appointing the Hon. Richard A. Levie (Ret.) as Special Master

(MDL Dkt No. 154 (February 9, 2017)), Defendant United Airlines, Inc. (“United”) hereby gives

notice that United’s Opposition to Plaintiffs’ Motion to Compel Defendant United Airlines, Inc.

to Comply with Discovery Requests and the Stipulation and Order Regarding the Search for and

Production of Electronically Stored Information and for Other Relief has been submitted to

Special Master Levie for his consideration.




                                               1
       Case 1:15-mc-01404-CKK Document 295 Filed 11/05/18 Page 2 of 3



Dated: November 5, 2018                  Respectfully submitted,

                                         /s/ Brendan Sepulveda
                                         Kent A. Gardiner (Bar No. 432081)
                                         David M. Schnorrenberg (Bar No. 458774)
                                         Cheryl A. Falvey (Bar No. 414277)
                                         Brendan Sepulveda (Bar No. 1025074)
                                         CROWELL & MORING LLP
                                         1001 Pennsylvania Ave., NW
                                         Washington, DC 20004
                                         Telephone: (202) 624-2500
                                         Facsimile: (202) 628-5116
                                         kgardiner@crowell.com
                                         dschnorrenberg@crowell.com
                                         cfalvey@crowell.com
                                         bsepulveda@crowell.com

                                         Counsel for Defendant United Airlines, Inc.




                                     2
        Case 1:15-mc-01404-CKK Document 295 Filed 11/05/18 Page 3 of 3



                               CERTIFICATE OF SERVICE


       I hereby certify that on November 5, 2018, a true and correct copy of the foregoing was

served on all counsel of record via the Court’s CM/ECF system.

Dated: November 5, 2018                            /s/ Brendan Sepulveda
                                                   CROWELL & MORING LLP
                                                   1001 Pennsylvania Ave., NW
                                                   Washington, DC 20004
                                                   Telephone: (202) 624-2500
                                                   Facsimile: (202) 628-5116
                                                   bsepulveda@crowell.com

                                                   Counsel for Defendant United Airlines, Inc.




                                               3
